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                                                                                      U.S. DISTRICT COURT
                                                                                     DISTRICT OF MARYLAND

DJB/EGW: USAO 2017R00754
                                                                                            6/15/2020
                                                                                          CLERK’S OFFICE
                                                                                          AT GREENBELT
                           IN THE UNITED STATES DISTRICT COURT
                                                                                       BY KN, DEPUTY CLERK
                              FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                             *
                                                     *
      v.                                             *    CRIMINAL NO. PWG 20-cr-0152
                                                     *
EDDIE RAY JOHNSON, JR.,                              *    (Theft of Government Property,
                                                     *    18 U.S.C. § 641; Money Laundering,
                   Defendant                         *    18 U.S.C. § 1956(a)(1)(B)(i); Forfeiture,
                                                     *    18 U.S.C. § 981(a)(1)(C), 18 U.S.C.
                                                     *    § 982(a)(1), 21 U.S.C. § 853(p),
                                                     *    28 U.S.C. § 2461(c))
                                                     *
                                                  *******

                                            INFORMATION

                                     COUNTS ONE AND TWO
                                   (Theft of Government Property)

           The United States Attorney for the District of Maryland charges that:

                                     Introduction and Background

           At all times relevant to this Information:

           1.      Defendant EDDIE RAY JOHNSON, JR. (“JOHNSON”) was a resident of

Brandywine, Maryland.

           2.      The Secretary of the United States Air Force, Office of the Legislative Liaison

(“SAF/LL”) was located at the Pentagon. The SAF/LL, among other duties, facilitated travel for

members of Congress and professional staff who wanted to visit Air Force assets or installations.

SAF/LL would facilitate and pay for members of Congress to travel with funds allocated to the

Air Force by Congress (“Official Representation Funds”). SAF/LL would also often send a

representative, or “travel escort,” on the trip with the delegation to pay for official expenses

arising during the travel.
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        3.      Since at least March 2014, SAF/LL has paid for Congressional travel by charging

travel-related expenses to Citibank-brand, government credit cards issued to Air Force

employees (“Citibank Travel Cards”). Citibank Travel Cards were to be used for official

government travel only, and were not permitted to be used for personal benefit or expenses.

        4.      In certain circumstances, SAF/LL employees were permitted to use their Citibank

Travel Cards to obtain cash advances for official government purposes, typically when the

scheduled travel was to a location where most transactions occurred in cash, when reimbursing

travelers for expenses incurred without the travel escort present, or funding travel for

congressional appropriators. Logistically, obtaining a cash advance from Citibank Travel Cards

could be difficult for SAF/LL employees because there was no Citibank location near the

Pentagon. Instead, SAF/LL members went to the Bank of America branch located at the

Pentagon, where SAF/LL members were instructed to open a non-interest bearing account in

their own names (“FRED accounts”). Through the Bank of America FRED accounts, SAF/LL

members could deposit and withdraw government funds for official use without accruing

interest.

        5.      All of the Citibank Travel Cards issued to SAF/LL employees were linked to and

billed through a central Citibank account. The Resources Directorate, Office of the

Administrative Assistant to the Secretary of the Air Force (“SAF/AA”) managed and provided

oversight for the centrally billed Citibank Travel Cards. Citibank invoiced the Air Force

monthly for all Citibank Travel Card purchases and cash advances made in support of

Congressional delegation travel incurred the previous month. Upon receiving the invoice,

members of SAF/AA created vouchers that were in turn sent to the Defense Finance and

Accounting Service (“DFAS”) for payment.




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       6.      From approximately January 2003 to February 2018, JOHNSON was a civilian

employee with SAF/LL. Most recently, JOHNSON served as Travel Coordinator, where he

planned congressional travel, reviewed and approved accounting packages submitted by trip

escorts, and was the SAF/LL liaison to SAF/AA. This was a managerial role and rarely involved

JOHNSON serving as a trip escort for a Congressional delegation. JOHNSON resigned from

the Air Force in February 2018.

       7.      From at least March 2014 until February 2018, JOHNSON was issued a Citibank

Travel Card ending x4146 (“Citibank Card 4146”).

       8.      Between in or about March 2014 and in or about September 2017, JOHNSON used

Citibank Card 4146 to obtain over $1,100,000.00 in cash advances at Bank of America bank

branches in Maryland, Virginia, and Washington, D.C., at least $774,000.00 of which JOHNSON

diverted for his own personal use. In fact, often, JOHNSON deposited these cash advances, in

whole or in part, into his non-interest bearing Bank of America FRED account ending in x1322

(“FRED BOA 1322”) and thereafter knowingly used the funds for unauthorized purposes.

                                          The Charges

       9.      On or about the dates listed below, in the District of Maryland, the defendant,

                                  EDDIE RAY JOHNSON, JR.,

did embezzle, steal, purloin, and knowingly convert to his use and the use of another, any money

and a thing of value of the United States and any department and agency thereof, with an

aggregate value that exceeded $1,000.00, namely, unauthorized cash advances he obtained on

Citibank Card 4146 that the Air Force had issued to him for official use only:




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  COUNT              DATE         ADVANCE LOCATION      ADVANCE AMOUNT
                                       Waldorf,
      1           June 25, 2015        Maryland              $4,000.00

                                       Waldorf,
      2       August 17, 2015          Maryland              $8,500.00


18 U.S.C. § 641




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                            COUNTS THREE THROUGH SEVEN
                                  (Money Laundering)

       The United States Attorney for the District of Maryland further charges that:

       1.      Paragraphs 1 through 8 of Counts One and Two are re-alleged here.

       2.      In or about January 2014, JOHNSON opened at a Wells Fargo bank branch in

Brandywine, Maryland a Wells Fargo bank account ending x9230 (“Wells Fargo 9230”).

JOHNSON was the sole owner of Wells Fargo 9230.

       3.      In or about April 2014, JOHNSON opened at a NASA Federal Credit Union

(“FCU”) branch in Bowie, Maryland a NASA FCU bank account ending x9571 (“NASA FCU

9571”). JOHNSON was the sole signatory on NASA FCU 9571.

       4.      Shortly after he obtained an unauthorized cash advance on Citibank Card 4146,

and deposited some or all of the cash advance into FRED BOA 1322, JOHNSON wrote himself

checks which were subsequently deposited into his personal bank accounts, primarily Wells

Fargo 9230 and NASA FCU 9571, and otherwise expended the cash advances on personal items.

                                          The Charges

       5.      On or about the dates listed below, in the District of Maryland, the defendant,

                                 EDDIE RAY JOHNSON, JR.,

did knowingly conduct and attempt to conduct the following financial transactions affecting

interstate and foreign commerce, which in fact involved the proceeds of a specified unlawful

activity—that is, theft of government property, in violation of 18 U.S.C. § 641—knowing that

the property involved in the financial transactions represented the proceeds of some form of

unlawful activity and that the transactions were designed in whole and in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of said specified

unlawful activity:



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 COUNT           DATE          LOCATION              FINANCIAL TRANSACTION

                               Brandywine,   Deposit into Wells Fargo 9230 of $6,000.00 check
    3        June 16, 2015
                                Maryland     drawn on JOHNSON’s FRED BOA 1322

                               Brandywine,   Deposit into Wells Fargo 9230 of $4,000.00 check
    4        June 25, 2015
                                Maryland     drawn on JOHNSON’s FRED BOA 1322

                                 Bowie,      Deposit into NASA FCU 9571 of $4,900.00 check
    5         July 17, 2015
                                Maryland     drawn on JOHNSON’s FRED BOA 1322 account

                                Waldorf,     Deposit into Wells Fargo 9230 of $4,950.00 check
    6       August 17, 2015
                                Maryland     drawn on JOHNSON’s FRED BOA 1322

                                Waldorf,     Deposit into Wells Fargo 9230 of $1,500.00 check
    7       August 20, 2015
                                Maryland     drawn on JOHNSON’s FRED BOA 1322

18 U.S.C. § 1956(a)(1)(B)(i)




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                                 FORFEITURE ALLEGATION

       The United States Attorney for the District of Maryland further states that:

       1.      Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

defendant that the United States will seek forfeiture as part of any sentence in accordance with

18 U.S.C. §§ 981(a)(1)(C), 982(a)(1) and 28 U.S.C. § 2461(c), as a result of the defendant’s

convictions on Counts One through Seven of this Information.

                           Theft of Government Property Forfeiture

       2.      Upon conviction of the offenses set forth in Counts One and Two of this

Information, the defendant,

                                  EDDIE RAY JOHNSON, JR.,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any property, real or personal, constituting, or derived from, proceeds obtained, directly or

indirectly, as a result of such violations, including but not limited to the property of the United

States identified in Counts One and Two.

                                  Money Laundering Forfeiture

       3.      As a result of the offenses set forth in Counts Three through Seven of this

Information, the defendant,

                                  EDDIE RAY JOHNSON, JR.,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1) any property, real or personal,

involved in such offense, and any property traceable to such property.




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                                  Property Subject to Forfeiture

       4.      The property to be forfeited, includes, but is not limited to, at least $15,174.00 in

U.S. currency seized from the defendant’s residence in Brandywine, Maryland on or about

November 6, 2019.

                                          Substitute Assets

       5.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of any defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third person;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or,

               e.      has been commingled with other property which cannot be divided

                       without difficulty,

the United States of America, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

§ 2461(c), shall be entitled to forfeiture of substitute property up to the value of the forfeitable

property described above.



18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

 June 15, 2020
_______________                                    __________________________
DATE                                               Robert K. Hur
                                                   United States Attorney




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